EDUARDO HERNANDEZ CARREON
Reg. No. 9481 7-509

FCI OAKDALE II

FEDERAL CORRECTIONAL INSTITUTION
P.O. BOX 5010

OAKDALE, LA 71463

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MISSOURI (KANSAS CITY)

EDUARDO HERNANDEZ CARREON, CIV. ACTION NO. 4:22-cr-00089-HFS-1

Plaintiff(s),
CARREON’S REPLY TO

vs. GOVERNMENT’S OPPOSITION

UNITED STATES OF AMERICA,

Defendant(s).

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In‘its Response, inter alia, the Government posits that Carreon’s claims are
conclusory and non-specific allegations of dissatisfaction, and that none of which
are sufficient to rebut the presumption of competence and moves this honorable
Court to deny all claims raised by CARREON.

First, CARREON states that the statements and arguments made by the
Government are not evidence. The Government’s arguments are intended to
convince the Court what conclusions the honorable Court should draw from the
evidence or lack of evidence. See, United States v. Hampton, $2 21 Cr. 766 (JPC)
(S.D.N.Y. Dec. 1, 2022).

Second, Counsel has filed an Affidavit disputing Petitioner CARREON’s
allegations, and responded in a way to Petitioner CARREON's 2255 Claims
creating several issues of material fact. In these circumstances, it is appropriate and
just that Counsel assume greater liability to the violation of Petitioner

CARREON’s Constitutional Rights.
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The Government argues that CARREON’s claims concerning the pre-plea

negotiation phase lack support and statements are self-serving. And that aside from
these statements, CARREON presents no other.
Here, CARREON’s claims are not self-serving or conclusory. Counsel failed

to mention any details as to the engaging in plea negotiations. -

a. Had Counsel properly explained that Plea Offers, Petitioner would have
avoided the greater risk and sought the most favorable outcome or plea.

Petitioner’s claims do not lack specificity and are not conclusory and should
not be dismissed.

The Government relies on the Sentencing Transcript and statements made to
to honorable Court by Petitioner. However, Petitioner states that Petitioner
accepted the plea, pleaded guilty, and answered affirmatively to the honorable
Court at the direction of Counsel. Petitioner was not acting under his own free will.
Petitioner’s failure to act under his own free will was fueled by Counsel’s threats,
coercion, intimidation, lack of interest, failure to consult, explain, inform and
explain the elements, charges and situation Guidelines to Petitioner.

In Griffin, the Sixth Circuit held that defendant’s repeated declarations of
innocence did not prove he would not have accepted a guilty plea had he been
properly advised on his sentencing exposure. 330 F.3d at 738 (Citing North
Carolina v. Alford, 400 U.S. 25, 33, 91 S.Ct. 160, 27 L. Ed. 2d 162 (1970)
(holding “reasons other than the fact that he is guilty may induce a defendant to so
plead”) (internal citations and quotation marks omitted)). Griffin provided: “It does
not make sense to say that a defendant must admit guilty prior to accepting a deal
on a guilty plea....[A] defendant must be entitled to maintain his innocence
through out trial under the Fifth Amendment”. 330 F. 3d at 738. Similarly, in|

Lalani the court cited Griffin and held that petiitoners’ “protestations of innocence

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after their trial do not prevent [them] from showing prejudice....” 315 F: App’x at
861.

In Lalani and Griffin, however, the court found sufficient evidence in the
record warranted an evidentiary hearing to determine whether there was a
“reasonable probability” that defendants would have accepted a guilty plea if
properly advised. See id; 330 F. 3d at 739.

Petitioner claims warrant further development of the record because

numerous events that transpired were out-of-courtroom events and are not part of

the record. The honorable Court of Appeals did not have the benefit of learning off
these out-of-courtroom events on direct review because traditionally it was not
appropriate during direct review of Petitioner’s appeal and no appeal was filed.

Petitioner submits that the records to the case, video surveillance, ledgers,
rosters, County Jail and Court records, will clearly show where and when
Petitioner met with the Counsel.

In Griffin, the Sixth Circuit held that defendant’s repeated declarations of
innocence did not prove he would not have accepted a guilty plea had he been
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“reasonable probability” that defendants would have accepted a guilty plea if

properly advised. See id; 330 F. 3d at 739.

Petitioner CARREON’s claims warrant further development of the record
because numerous events that transpired were out-of-courtroom events and are not
part of the record.

Petitioner CARREON submits that "[a]s part of this advice, counsel must
communicate to the defendant the terms of the plea offer, and should usually
inform the defendant of the strengths and weaknesses of the case against him, as
well as the alternative sentences to which he will most likely be
exposed." Purdy, 208 F.3d at 45 (internal citations omitted).

In the context of a defense counsel's advice surrounding a plea offer, "[a]
lawyer shall explain a matter to the extent reasonably necessary to permit the client
to make informed decisions regarding the representation." Purdy v. United
States, 208 F.3d 41, 45 (2d Cir. 2000) (internal quotation marks omitted) (quoting
Model Rules of Professional Conduct Rule 1.4(b) (1995)). "The decision whether
to plead guilty or contest a criminal charge is ordinarily the most important single
decision in a criminal case . . . [and] counsel may and must give the client the
benefit of counsel's professional advice on this crucial decision." Boria v. Keane,
99 F.3d 492, 496-97 (2d Cir. 1996) (internal quotation marks omitted) couGnin’
Anthony G. Amsterdam, Trial Manual 5 for the Defense of Criminal Cases
(1988)), cert. denied, Keane v. Boria, 521 U.S. 1118 (1997). "As part of this
advice, counsel must communicate to the defendant the terms of the plea offer, and
should usually inform the defendant of the strengths and weaknesses of the case
against him, as well as the alternative sentences to which he will most likely be
exposed." Purdy, 208 F.3d at 45 (internal citations omitted). "[K]nowledge of the
comparative sentence exposure between standing trial and accepting a plea offer

will often be crucial to the decision whether to plead guilty." U.S. v. Gordon, 156

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F.3d 376, 380 (2d Cir. 1998) (per curiam) (citation and internal quotation marks

omitted).

Petitioner CARREON submits that Counsel committed numerous errors, and
"[S]uch errors include ‘omissions [that] cannot be explained convincingly as
resulting from a sound trial strategy, but instead arose from oversight, carelessness,
ineptitude, or laziness.'" Id. (quoting Eze v. Senkowski, 321 F.3d 110, 112 (2d Cir.
2003)).

Here, the Government expects Petitioner to predict the outcome of many
instances during and before Petitioner’s pre-trial process. It is hard to predict how
Petitioner would have prevailed at any stage. Petitioner submits that any outcome
is unpredictable.

In that regard, “contested fact issues in § 2255 cases cannot be resolved on
the basis of affidavits.” Friedman, 588 F.2d at 1015; see also Machibroda v.
United States, 368 U.S. 487, 495, 82 S.Ct. 510, 7 L.Ed.2d 473 (1962) (“Not by the
pleadings and the affidavits, but by the whole of the testimony, must it be
determined whether the petitioner has carried his burden of proof and shown his
right to a discharge.”) (quotes and cite omitted); United States v. Henderson,
2014 WL 4063930 at *3 (E.D.La. Aug. 13, 2014); United States v. Rivas—Lopez,

678 F.3d 353, 358-59 (Sth Cir.2012) (evidentiary hearing required for allegation of
ineffective assistance of counsel because of conflicting accounts and incomplete
record on relevant factors). "[K]nowledge of the comparative sentence exposure
between standing trial and accepting a plea offer will often be crucial to the
decision whether to plead guilty." U.S. v. Gordon, 156 F.3d 376, 380 (2d Cir.

1998) (per curiam) (citation and internal quotation marks omitted).

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I CREDIBILITY OF PETITIONER CARREON
‘ The Courts have been clear in establishing that just because a Petitioner is
: incarcerated, it does not mean that he is not to be believed. See Friedman vy.
; United States, 588 F.2d 1010 (Sth Cir. 1979) (Stating that contested fact issues inl
a Section 2255 cannot be resolved on the basis of affidavits); See also Taylor v\
a United States, 287 F.3d 650 (7" Cir. 2002), where the Court determined that if the
record contains an evidentiary conflict on a material issue of fact a judge must hold
: an evidentiary hearing to decide who is telling the truth. “It is not sound to say that
° in every conflict between a prisoner and a lawyer the lawyer must be believed.” Id.
. Friedman v. United States, 588 F.2d 1010 (5" Cir. 1979).
; Petitioner submits that “when there are only conflicting affidavits regarding!
r the underlying facts, Court must hold evidentiary hearing).
: In United States v. Howell, the Ninth Circuit held a court must hold
" evidentiary hearing if moving papers allege facts with sufficient definiteness,
° clarity, and specifity to enable the court to conclude that relief must be granted iff
° the facts alleged are proved. See 231 F. 3d 615, 620 (9" Cir. 2000) (Citing United
v States v. Walezak, 783 F. 2d 852, 857 (9" Cir. 1986).
- In Carrion v. Smith, 365 Fed. Appx. 278 (2d Cir. 2012) Judge Scheindlin
i found amongst other things petitioner’s testimony credible. An excerpt from that
case follows:
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°° (“Although this testimony is self-serving, | find it credilble
25 especially given his demeanor in testifying....”. Cullen v.
United States, 194 F.3d 401, 407 (2d Cir. 1999) (explaining
24 that although a habeas petitioner's testimony is often self-
25 serving, “it ought no be rejected solely on this account’). See
Carrion v. Smith, 365 Fed. Appx. At 282. (emphasis added),
26
27 Only an evidentiary hearing would allow the honorable Court to analyze and
2g |} witness Petitioner CARREON’s “demeanor in testifying.” Petitioner CARREON
requests this honorable Court Grant an Evidentiary hearing directing the
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Government, CARREON and other witnesses to appear to testify at an evidentiary;

hearing.

Petitioner CARREON will show that, absent counsel’s ineffectiveness, he
would have changed his plea.”. Arnold v. Thaler, 630 F.3d 367, 370 (Sth Cir.
2011). (emphasis added).

Petitioner CARREON respectfully requests a evidentiary hearing.

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AN EVIDENTIARY HEARING IS NECESSARY AND WOULD
BE USEFUL TO THE COURT

Title 28, United States Code Section 2255 provides that a prisoner in custody
under sentence of a court established by Act of Congress claiming the right to be
released or for reduction of sentence may move the court which imposed the
sentence to vacate, set aside, or correct the sentence.

This section also provides as follows:

“Unless the motion and files and records of the case
conclusively show that the prisoner is entitled to no relief, the
court shall cause notice thereof to be served upon the United
States attorney, grant a prompt hearing thereon, determine the
issues and make findings of fact and conclusions of law with
respect thereto.”

28 U.S.C. Section 2255

In the instant case, as set forth in Petitioner’s Section 2255 Petition and Affidavits,
Petitioner has pleaded, presented evidence, and argued to demonstrate that his
conviction and sentence is violative of his Sixth Amendment right to effective
assistance of counsel during the plea negotiation phase.

While many of the material allegations concern events which took place
outside the courtroom and are not, therefore, part of the “files and records,” these
allegations require an evidentiary hearing under well settled law. Stoia v. United
States, 24 F.3d 766, 768 (7th Cir. 1994); Shaw v. United States, 24 F.3d 1040, 1043
(8th Cir. 1994) (same); Nichols v. United States, 75 F.3d 1137, 1145-46 (7th Cir.
1996)(petitioner entitled to evidentiary hearing on claim of ineffective assistance
of counsel when record inconclusive on issue); United States v. Witherspoon, 231
F.3d 923; 2000 U.S. App. LEXIS 27778 (4th Cir. 11-6-00)(petitioner entitled to
evidentiary hearing when motion presented colorable claim and unclear whether
counter affidavit disputed defendant’s allegations).

Here, Petitioner was directed to and induced by Counsel to sign a pleal
agreement and enter a plea of guilty for significantly a lot less of what counsel told
Petitioner. Petitioner argues that his conviction and sentence are violative of his
Sixth Amendment right to effective assistance of counsel because “any amount of
jail time has a Sixth Amendment significance.” Glover v. United States, 531 U.S.
198, 205,121 5.0. 696, 146 L. Ed. 20-604 @001).

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RELIEF REQUESTED
For the above-named reasons, Petitioner prays that this Court:

Issue a writ of habeas corpus to have Petitioner brought before the Court to
the end that he may be discharged from this unconstitutional conviction;
Require Respondent to bring forth and file with this Court accurate and
complete copies of all documents and proceedings relating to Petitioner’s
conviction and sentence;
Permit Petitioner to amend this Petition to include any additional claims or
allegations not presently known to him, that are identified or uncovered in
the course of review, discovery, investigation, and litigation of this habeas
corpus Petition;
Require Respondent to file an answer in the form prescribed by the Rules
Governing § 2255 proceedings, admitting or denying each and every factual
allegation set forth in this Petition;
Permit Petitioner to conduct and utilize the procedures for discovery unden
Rule 6 of the Rules Governing § 2255 proceedings and Fed.R.Civ.P. 26 — 37,
to the extent necessary to fully develop and identify the facts supporting this
Petition, and any defenses thereto raised by Respondent’s Answer;
Conduct an evidentiary hearing to resolve any factual disputes in relation to
the claims in this Petition, by Respondent’s Answer to this Petition, or by
Petitioner’s Response to any affirmative defenses raised in Respondent’s
Answer;
Issue a writ of habeas corpus Granting new proceedings to cure all
constitutional defects in the federal proceedings that resulted in Petitioner’s
Federal conviction;
Issue an Order appointing Counsel for Petitioner for this habeas corpus
proceeding; and

Grant such other and further relief as may be deemed just and proper.

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VERIFICATION
I, the Petitioner, state as follows:

a) Iam a pro se pauper in federal custody; and

b) Based on my first-rate personal knowledge, and a review of the
limited record, I know all the facts described in this Petition and verify
them as true.

I declare under penalty of perjury pursuant to Title 28 U.S.C. 1746, and
under the laws of this State that the foregoing is true and correct to the best
of my ability.

Dated this December 27, 2024

Signature Name:

EDUARDO HERNANDEZ CARREON
Reg. No. 94817-509
CONCLUSION

WHEREFORE, for the reasons stated above, Petitioner prays this
honorable Court Grant Petitioner the relief he seeks.

Dated this December 27, 2024

Sign Name:

EDUARDO HERNANDEZ CARREON
Reg. No. 94817-509

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CERTIFICATE OF SERVICE

I, Petitioner Carreon, hereby, certifies and declares that on December 27, 2024, I havel
served the Original of the following:

CARREON’S REPLY

Which is deemed filed at the time it was delivered to prison legal mail authorities for forwarding,
Houston v. Lack, 101 L. Ed. 2d 245 (1998), upon the below mentioned, by placing same in
sealed, postage prepaid envelope addressed to:

Missouri Western District Court - Kansas City, MO
Charles Evans Whittaker United States Courthouse
400 East Ninth Street

Kansas City, MO 64106

And deposited same in the United States Legal
Mail System at the:

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P.O. BOX 5010

OAKDALE, LA 71463

I declare under penalty of perjury pursuant to Title 28 U.S.C. 1746, and
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ability.

Dated this December 27, 2024

Sign Name: A hrrlok nll bly)

EDUARDO HERNANDEZ CARREON
Reg. No. 94817-509

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